     Case 6:12-cr-00005-JRH-CLR Document 234 Filed 01/19/16 Page 1 of 2




                   UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION

ANTONIO LAMONT MURRAY,

     Movant,

v.                                 )
                                               Case No. CV614-128
UNITED STATES OF AMERICA,          )                    CR612-005

     Respondent.

                                  ORDER

     After a careful, de novo review of the file, the Court concurs with

the Magistrate Judge's Report and Recommendation (R&R), doc. 12, to

which objections have been filed.        Doc. 17.    Accordingly, Antonio

Murray's    objections   are   OVERRULED,         and   the   Report      and

Recommendation of the Magistrate Judge is ADOPTED as the opinion

of the Court.

     Murray's objections don't differ in any significant respect from his

original 28 U.S.C. § 2255 motion's arguments. He rehashes complaints

about his attorney's (l) cross-examination of voice identification witness

Mark Crowe (doc. 17 at 1-2); (2) attempt to attack the introduction of

Murray's cell phones {id. at 3); and (3) decision not to hire an
      Case 6:12-cr-00005-JRH-CLR Document 234 Filed 01/19/16 Page 2 of 2




independent DNA expert {id. at 4). But he offers nothing to undermine

the R&R's sound reasoning.

       His remaining objections are mere conclusions,1 employ circular

logic,2 or bluntly declare that his attorney "failed to prepare," without

offering further detail.        Doc. 17 at 7 ("Clearly all substantial and

material evidence was not subjected to the adverse testing . . . as a

result of an incompetent counsel who simply did not prepare."). They

contain no merit and thus do not warrant reversing course.

       ORDER ENTERED at Augusta, Georgia, this /f^ day of
  f/AOMA   ,201^

                                 HONORABLE J. RANDAL HALL
                                 UNITEI^STATES DISTRICT JUDGE
                                        IERN DISTRICT OF GEORGIA




1 E.g., "Murray objects to this conclusion, clearly the counsel's failure to object to
the denial of funds for an expert witness was nothing short of incompetence." Doc.
17 at 5.


2 Murray, for example, argues that counsel's "failure to object to the hearsay
testimony" was ineffective assistance because it "was incompetent." Doc. 17 at 6.
